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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
HILDELBERTO LARA, on behalf of all other
employees similarly situated,
                                                         19-CV-8486 (PGG) (BCM)
                  Plaintiff,
                                                         ORDER
          -against-                                               ,-;.......===:=.:===========;
                                                                  11 .-_•~."C' ')NY                   !,

AIR SEA LAND SHIPPING & MOVING INC.                               !; 1;CCU:\lEN~                       I


doing business as AIR SEA LAND GROUP OF                               r:-c.1ECTRONICALLY FILED

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COMPANIES, et al.,
                                                                       . u '-'; •         I /
                 Defendants.                                                          1/IJ-Jif
                                                                  j'. L.' ':'".~ FILED: I

BARBARA MOSES, United States Magistrate Judge.

        The Court has received and reviewed the parties' joint letter dated November 8, 2019
(Joint Ltr.) (Dkt. No. 12), seeking approval of their Negotiated Settlement Agreement & Release
(Dkt. No. 12-1) pursuant to Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199 (2d Cir.
2015).

         The parties addressed their joint letter to the undersigned Magistrate Judge, but have not
consented to my jurisdiction pursuant to 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73. If the parties
wish      to    so     consent,      they     may       complete     the     form      available at
https ://www.uscourts.gov/forms/civil-forms/notice-consent-and-reference-civil-action-
magistrate-j udge, and return that form, signed by all parties, to the Clerk of Court. 1

       The parties are free to withhold their consent without adverse consequences. If the parties
have not consented by November 19, 2019, the Court will assume that not all parties consent.

Dated: New York, New York
       November 12, 2019




                                               United States Magistrate Judge




1
    The form should not be filed on the docket or returned to any judge.
